CM/ECF-GA Northern District Court                                          https://gand-ecf.sso.dcn/cgi-bin/GANDc_mkmin.pl?536167061381967-...
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                                          UNITED STATES DISTRICT COURT
                                         NORTHERN DISTRICT OF GEORGIA
                                                ATLANTA DIVISION
                                                       1:20-cv-01986-ELR
                                         The New Georgia Project et al v. Raffensperger et al
                                                   Honorable Eleanor L. Ross

                                         Minute Sheet for proceedings held In Open Court on 08/19/2020.


              TIME COURT COMMENCED: 9:35 A.M.
                                                                          COURT REPORTER: Elizabeth Cohn
              TIME COURT CONCLUDED: 1:00 P.M.
                                                                          CSO/DUSM: Derrick Davis
              TIME IN COURT: 3:25
                                                                          DEPUTY CLERK: Michelle Beck
              OFFICE LOCATION: Atlanta

         ATTORNEY(S) PRESENT: Joshua Belinfante representing Anh Le
                              Joshua Belinfante representing Brad Raffensperger
                              Joshua Belinfante representing David J. Worley
                              Joshua Belinfante representing Matthew Mashburn
                              Joshua Belinfante representing Rebecca N. Sullivan
                              Kevin Hamilton representing The New Georgia Project
                              Kevin Hamilton representing Beverly Pyne
                              Kevin Hamilton representing Candace Woodall
                              Kevin Hamilton representing Reagan Jennings
                              Vincent Russo representing Anh Le
                              Vincent Russo representing Brad Raffensperger
                              Vincent Russo representing David J. Worley
                              Vincent Russo representing Matthew Mashburn
                              Vincent Russo representing Rebecca N. Sullivan
                              Bryan Tyson representing Aaron Wright
                              Bryan Tyson representing Addison Lester
                              Bryan Tyson representing Alice O'Lenick
                              Bryan Tyson representing Beauty Baldwin
                              Bryan Tyson representing Ben Satterfield
                              Bryan Tyson representing Darry Hicks
                              Bryan Tyson representing John Mangano
                              Bryan Tyson representing Stephen Day
         PROCEEDING CATEGORY: Motion Hearing(PI or TRO Hearing-Evidentiary);
         MOTIONS RULED ON:    [57]Motion for Preliminary Injunction TAKEN UNDER ADVISEMENT
                              [82]Motion to Dismiss TAKEN UNDER ADVISEMENT
                              [83]Motion to Dismiss TAKEN UNDER ADVISEMENT

         MINUTE TEXT:               The parties agreed to appear via videoconference. Court called to order. Oral arguments
                                    regarding outstanding motions. All issues were taken under advisement and the Court will
                                    prepare an order containing its rulings. Court adjourned.
         HEARING STATUS:            Hearing Concluded




1 of 1                                                                                                                         8/19/2020, 3:20 PM
